               Case 3:18-cv-06502-VC Document 34 Filed 02/04/19 Page 1 of 1




1                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
2
                                      SAN FRANCISCO DIVISION
3
4     FIRENET TECHNOLOGIES, LLC,
                                                           Case No.: 3:18-cv-06502-VC
5                                    Plaintiff
6                                                          ORDER OF DISMISSAL WITH
             v.                                            PREJUDICE
7
      A10 NETWORKS, INC.,
8
                                     Defendant
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            In consideration of the parties’ Stipulated Motion for Dismissal of all claims with
11
     prejudice and all counterclaims as moot asserted between Plaintiff FireNet Technologies, LLC
12
     and Defendant A10 Networks, Inc., the Stipulated Motion for Dismissal is GRANTED, and it is
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14   ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between Plaintiff

15   and Defendant are hereby dismissed with prejudice.

16                  It is further ORDERED that all attorneys’ fees and costs are to be borne by the
17   party that incurred them.
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19
            SO ORDERED this
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            _________________________,
              February 4, 2019         2019               _________________________________
21                                                        VINCE CHHABRIA
22                                                        UNITED STATES DISTRICT JUDGE

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                                                     1              CASE NO. 3:18-cv-06502-VC
                                                         ORDER OF DISMISSAL WITH PREJUDICE
